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6
7                               UNITED STATES DISTRICT COURT
8                           CENTRAL DISTRICT OF CALIFORNIA
9                                      WESTERN DIVISION
10
11   UNITED STATES OF AMERICA,                         Case No. 2:22-CR-00482-GW-1
12                 Plaintiff,                          NOTICE OF APPEARANCE
13          v.
14   JERRY NEHL BOYLAN,
15
                   Defendant.
16
17          PLEASE TAKE NOTICE that Deputy Federal Public Defender Georgina
18   Wakefield, hereby gives notice that she has been assigned to represent Defendant Jerry
19   Nehl Boylan in this matter.
20          Please make all necessary changes to the Court’s case management/electronic
21   filing system to ensure that Deputy Federal Public Defender Georgina Wakefield
22   receives all e-mails relating to filings in this case.
23                                             Respectfully submitted,
24                                             CUAUHTEMOC ORTEGA
                                               Federal Public Defender
25
26   DATED: November 9, 2022               By: /s/ Georgina Wakefield
27                                           GEORGINA WAKEFIELD
                                             Deputy Federal Public Defender
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